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1      Nicholas O. Kennedy (State Bar No. 280504)
       nicholas.kennedy@bakermckenzie.com
2      BAKER & McKENZIE LLP
       1900 North Pearl Street, Suite 1500
3      Dallas, TX 75201
       Telephone: 214.978.3000
4
       Thomas Tysowsky (State Bar No. 330022)
5      thomas.tysowsky@bakermckenzie.com
       BAKER & McKENZIE LLP
6      10250 Constellation Boulevard, Suite 1850
       Los Angeles, CA 90067
7      Telephone: 310.201.4728
8      Attorneys for Plaintiff,
       MING GLOBAL LIMITED, a Hong Kong company
9

10
                             UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12

13     MING GLOBAL LIMITED, a Hong Kong               Case No. 8:20-cv-01852-JVS-KES
       company,
14                                                    PLAINTIFF’S NOTICE OF
                     Plaintiff,                       VOLUNTARY DISMISSAL,
15            v.                                      WITHOUT PREJUDICE
16      MONARCH HOLDINGS INC., a Nevada               [Fed. R. Civ. P. 41(A)(1)(a)]
        corporation, d/b/a MONARCH
17      INTERNATIONAL INC., VERONICA                  District Judge James V. Selna
        SO a/k/a MARIA VERONICA SO a/k/a              Magistrate Judge Karen E. Scott
18      MARIA SO, an individual, IRVINE
        MANAGEMENT TRANSFERS AND                      SAC Filed: July 19, 2021
19      HOLDINGS CORP, a New York
        corporation, ALYSSA D'URSO a/k/a
20      ALYSSA DURSO, an individual; and
        Does 1 through 10 inclusive,
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                   Defendants.
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                                                                     Case No. 8:20-cv-01852-JVS-KES
                             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
     Case 8:20-cv-01852-JVS-KES Document 79 Filed 08/15/22 Page 2 of 2 Page ID #:2320



1      TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2            Plaintiff Ming Global Limited (“Plaintiff” or “Ming Global”) by and through its
3      undersigned counsel, hereby gives notice of the voluntary dismissal of Defendants (1)
4      Monarch Holdings Inc., a Nevada corporation, d/b/a Monarch International Inc., (2)
5      Javeed Matin and (3) Derek Nguyen (“Defendants”) in the above-captioned action
6      pursuant to Federal Rule of Civil Procedure 41(A)(1)(a) without prejudice.
7            Defendants have neither answered Ming Global’s pleading, nor filed a motion for
8      summary judgment.
9

10     Dated: August 15, 2022                  Respectfully submitted,
11                                             BAKER & McKENZIE LLP
                                               Nicholas O. Kennedy
12                                             Thomas Tysowsky
13
                                               By:    /s/ Nicholas O. Kennedy
14                                                     Nicholas O. Kennedy
15                                             Attorneys for Plaintiff
                                               MING GLOBAL LIMITED
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                              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
